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                    EXHIBIT A
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                                              TITLE II - LEGISLATIVE BRANCH
                           Chapter 18 REDISTRICTING OF COUNCIL AND SCHOOL BOARD DISTRICTS




         Chapter 18 REDISTRICTING OF COUNCIL AND SCHOOL BOARD DISTRICTS1

   Sec. 18.101. Legislative findings.
         The Council finds and determines as follows:
         (a)    Charter Sections 5.02 and 13.03 impose upon the Council the duty and responsibility of redistricting
                the Council districts and the School Board districts;
         (b)    In making this redistricting, the Council is obligated to insure that all districts are as nearly equal in
                population and are arranged in as logical and compact a geographical pattern as it is possible to
                achieve and to insure that all federal and state constitutions, laws and requirements are complied with;
         (c)    While the Council districts are based upon population with respect to their size, the geographical
                arrangement and territorial boundaries of the districts must take into consideration other factors,
                particularly compactness and contiguity, so that the people of the City, and their varied economic,
                social and ethnic interests and objectives, are adequately represented in the Council; and
         (d)    This chapter is enacted in order to set forth legislative policy, to provide for appropriate public input,
                and to provide for an adequate review of the redistricting plan before it is enacted into law.
   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 90-765-354, § 1; Ord. 2012-74-E, § 1)

   Editor's note(s)—A reference in this Section to § 11.03 of the Charter has been changed to reflect the correct
         Section, § 13.03.
   Note(s)—Former § 4.101.

   Sec. 18.102. Definitions.
         In this chapter, unless the context indicates otherwise:
         (a)    Census means the official decennial census master enumeration district list published by the Bureau of
                the Census and containing the population figures for the City.
         (b)    Department means the Planning and Development Department.
         (c)    Director means the Director of Planning and Development.
         (d)    District means one of the 14 Council districts into which the General Services District is required to be
                divided by Section 5.01 of the Charter.
         (e)    Plan means a plan or scheme for the redistricting of Council districts, which shall also be a redistricting
                of School Board districts by operation of Section 13.03 of the Charter.




   Editor's note(s)—Ord. 2012-74-E, § 1, amended the title of Ch. 18. Formerly, Ch. 18 was entitled
   1

        "Reapportionment of Council and School Board Districts."
   Charter reference(s)—Reapportionment of council districts, § 5.02; school board districts, § 13.02; apportionment
        of school board districts, § 13.03.


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         (f)   Redistricting Committee means the committee of the Council appointed by the President to study
               redistricting and draft a redistricting plan; such committee may be a special committee or a standing
               committee designated as the Redistricting Committee; such committee's duties will terminate with the
               submission of a proposed plan to the Council.
         (g)   Redistricting Consultant or Consultant means the Department or a person, partnership, corporation or
               entity requested or hired by the Council to assist the Council in drafting a redistricting plan.
   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 90-765-354, § 2; Ord. 2012-74-E, § 1)

   Note(s)—Former § 4.102.

   Sec. 18.103. Reserved.
   Editor's note(s)—The provisions of former § 18.103, relative to time for reapportionment, were deleted as part of
         the Super Supplement to the Code. Former § 18.103 derived from Ord. 81-827-390, § 1; and Ord. 83-591-
         400, § 1.
   Note(s)—Former § 4.103.

   Sec. 18.104. Preparation of plan.
         Whenever the Council President deems appropriate, but no more than six months after the official date for
   the taking of the decennial census, the President shall appoint a special committee or designate a standing
   committee to serve as a Redistricting Committee. The Redistricting Committee shall investigate possible persons or
   entities, including the Planning Department, qualified to serve as a Redistricting Consultant. If it deems
   appropriate, the Redistricting Committee shall send out a request for proposals. After it has completed its
   investigation, the Redistricting Consultant shall present to the Council the names of the persons or entities
   recommended to be chosen as the Redistricting Consultant. Such selection shall be based on professional
   qualifications and experience in redistricting. Unless the Department is chosen, the hiring of a Redistricting
   Consultant shall follow the Purchasing Code, except that the final choice of the Redistricting Consultant shall be
   made by the Council. In addition, the Redistricting Committee shall adopt a schedule for preparation of a plan to
   be submitted to the Council. Within 150 days after U.S. Bureau of the Census certification of the final population
   count for the City, the Redistricting Committee will submit to the Council a final proposed plan pursuant to Section
   18.106. The Redistricting Committee shall have available all alternative plans considered but not recommended. If
   the Department is not requested to be the Redistricting Consultant, the Department shall advise the Council and
   the Redistricting Committee with regard to any matter the Council deems advisable.
   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 90-765-354, § 3; Ord. 91-759-252, § 1; Ord. 2012-74-E, § 1)

   Note(s)—Former § 4.104.

   Sec. 18.105. Reserved.
   Editor's note(s)—Former § 18.105 which pertained to guidelines and derived from § 1 of Ord. 81-827-390 and § 1
         of Ord. 83-591-400, was repealed by § 4 of Ord. 90-765-354.

   Sec. 18.106. Transmission of plan to Council; report.
        Not later than 150 days after the census is published, the Redistricting Committee shall transmit to the
   Council the proposed plan. The plan shall be in the form of an ordinance, introduced by the Redistricting



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   Committee, amending Appendix 1 of the Charter to substitute for the then-existing district boundaries, the
   proposed district boundaries. The plan shall be accompanied by a report containing the following information:
         (a)   A map of the General Services District showing both the existing district boundaries and the proposed
               district boundaries;
         (b)   A table indicating the population of each proposed district and the variations of each such population
               from the population average for all the districts, with an explanation of the variation in each district;
         (c)   A statement of the methodology used in arriving at the particular plan recommended by the
               Redistricting Committee;
         (d)   An appendix of any other redistricting plans considered or created by the Redistricting Committee in
               the process of creating the recommended plan, with the reasons for rejection of each such redistricting
               plan; and
         (e)   Comments and recommendations deemed necessary or advisable by the Redistricting Committee to
               explain or illustrate the plan.
   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 90-765-354, § 4; Ord. 91-759-252, § 2; Ord. 2012-74-E, § 1)

   Note(s)—Former § 4.106.

   Sec. 18.107. Reference to Rules Committee; public hearings; report.
   (a)   As soon as the plan is received by the Council Secretary, it shall be referred to the Rules Committee. The
         ordinance amending the Charter shall be introduced at the next regular Council meeting following its
         reception by the Council Secretary, but the Rules Committee may begin consideration of the ordinance as
         soon as it is referred. It shall not be in order at any time to move for the enactment of the ordinance as an
         emergency measure. It shall not be in order to move for withdrawal of the ordinance from the Rules
         Committee, less than 60 days after the ordinance has been referred to the Rules Committee. The ordinance
         shall be a priority item of business of the Rules Committee, and the Rules Committee shall consider and
         report the ordinance with all deliberate speed. The Redistricting Consultant shall provide all necessary
         information and support to the Rules Committee, and the Director shall advise the Rules Committee during
         its deliberations or provide it with knowledgeable staff personnel.
   (b)   The Rules Committee shall hold not less than three public hearings, at three separate places in the City, on
         the ordinance and the plan. The public hearings shall be advertised and held in accordance with the Council
         rules, and they shall be held after five p.m. and on any day except Sunday. Copies of the ordinance, the plan
         and the report of the Redistricting Consultant shall be made available to the public upon request and shall be
         available at the places where the public hearings are held. Written comments or views submitted by
         members of the public shall be made a part of the official record of the proceedings. The Rules Committee
         shall consider the testimony heard and evidence received at the public hearings, but it shall not be bound by
         them nor confined in its deliberations to them. These public hearings shall be completed not later than 45
         days after the ordinance is referred to the Rules Committee.
   (c)   As soon as practicable, but not less than 15 days, after the public hearings have been completed, the Rules
         Committee shall report the ordinance to the Council. If the Council adopts amendments to the ordinance
         which substantially change the boundary lines of the proposed districts, the ordinance shall be recommitted
         to the Rules Committee and it shall hold additional public hearings to receive the comments and views of
         those persons who are or would be affected by the amendments. All such additional public hearings shall be
         completed not later than 75 days after the ordinance was originally referred to the Rules Committee, and the
         Rules Committee shall report the ordinance as amended as soon as practicable after the additional public
         hearings are completed.


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   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 90-765-354, § 4; Ord. 2012-74-E, § 1)

   Note(s)—Former § 4.107.

   Sec. 18.108. Enactment of ordinance; effective date of redistricted districts.
         The ordinance amending Appendix 1 of the Charter shall be enacted by the Council according to its rules,
   except as provided in Section 18.107. The ordinance shall become effective at the time therein stated, but the
   redistricted districts shall not become effective for the purpose of electing members of the Council until the next
   general Consolidated Government election which occurs at least nine months after the enactment of the
   ordinance.
   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 90-765-354, § 4; Ord. 2012-74-E, § 1)

   Note(s)—Former § 4.108.

   Sec. 18.109. Redistricting by Circuit Court.
         If the Council has not enacted a plan within eight months after the official publication of the census, the
   Council Secretary shall certify this fact to the General Counsel. The General Counsel shall forthwith petition the
   Circuit Court for the Fourth Judicial Circuit to make the redistricting required by the Charter and this chapter. An
   order of the Circuit Court making the redistricting shall be considered the same as an ordinance amending
   Appendix 1 of the Charter, and shall be given the same effect under this chapter. The redistricting order shall be
   included in the printed Charter in the same manner as an ordinance amending Appendix 1 thereof.
   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 2012-74-E, § 1)

   Editor's note(s)—Ord. 82-490-191, § 1 permitted approval of the 1980 reapportionment plan not later than June
         22, 1982, notwithstanding that this date extended beyond the period allowed by this Section.
   Note(s)—Former § 4.109.

   Sec. 18.110. Effect on School Board districts.
          The redistricting of the 14 Council districts shall automatically redistrict the School Board districts, as
   provided in Section 13.02 of the Charter. The description of the School Board districts contained in Appendix 2 of
   the Charter shall determine the Council districts comprising each School Board district. The Council may, by
   ordinance, amend Appendix 2 of the Charter, to change the Council districts comprising each School Board district,
   subject to the requirements of Section 13.03 of the Charter, which shall also be considered a redistricting. Any
   redistricting of School Board districts shall not affect any term of office in existence at the time the redistricting
   becomes effective, but shall be applicable at the next School Board election which occurs at least nine months
   after the redistricting.
   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 90-765-354, § 4; Ord. 2012-74-E, § 1)

   Note(s)—Former § 4.110.

   Sec. 18.111. Effect on appointive offices.
          A change in the division of the City into districts shall not vacate or otherwise affect the office of any member
   of an appointed board, commission or independent agency who is serving at the time the redistricting becomes
   official and who was appointed by reference to a district as it existed at the time such member was appointed. A


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   member shall continue to represent the district in which he resided at the time of his appointment until the
   expiration of his term or until he resigns from the board, commission or independent agency, notwithstanding
   that, as a result of the redistricting, the member no longer resides in the district from which he was appointed.
   (Ord. 81-827-390, § 1; Ord. 83-591-400, § 1; Ord. 2012-74-E, § 1)

   Note(s)—Former § 4.111.

   Sec. 18.112. Post-enactment of Redistricting.
        The Council Secretary/Director shall comply with the post-redistricting enactment requirements of F.S. §
   124.02 (Notice of change of boundaries of district to be given by publication), § 124.03 (Description of district
   boundaries to be furnished Department of State), and § 1001.36 (District school board member residence areas),
   as may be amended from time to time.
   (Ord. 2012-74-E, § 1)

   Note(s)—Former § 4.111.




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                    EXHIBIT B
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                    EXHIBIT C
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       1               72718         31693    25542       332             2425    78     4585    8063          11546              61172               56490                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I 295 WEST BELTW
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       2               72283         44913    13210       244             4124   111     2508    7173           7404              64879               55941                                                                                                                                                                                                                                                                                                                                                                                                                                               MAND
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       3               74018         47395    8024        212             7099   123     3321    7844           9555              64463               59893
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       4               71923         37904    12404       338             6779    77     5987    8434          13624              58299               57203
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       5               74180         43595    12497       437             4381    69     5557    7644          12541              61639               57985
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       6               72247         52933    5366        168             3783    38     2496    7463           7502              64745               58130                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              EEK RD
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       7               68060         20827    40253       227             1057    67     1605    4024           4389              63671               52925
       8               67916         16594    46044       198             442     28     1416    3194           2934              64982               50825
       9               67793         18917    38745       278             1852    75     2995    4931           6330              61463               50976
      10               68777         18706    40051       247             2100    61     2902    4710           6282              62495               51457
      11               73463         42199    11220       230             8332    99     3414    7969           9553              63910               60408
      12               67696         35356    20671       294             2618    46     3059    5652           7324              60372               51206
      13               74348         58950    4991        261             1939   129     1940    6138           6011              68337               61825
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Developed by Howard Seltzer hseltzer@coj.net
      14               70145         44800    13319       246             2536    78     2925    6241           7694              62451               56339                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         2020 Districts based on 2020 US Census data
    TOTAL              995567       514782   292337      3712            49467   1079   44710    89480         112689            882878              781603                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         March 22, 2022
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Content intended for illustrative purposes only
